                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                          Plaintiff,

        v.                                         No. 24-03019-01/17-CR-S-BCW

 DONTRELL ANTHONY POWELL et al.,

                          Defendants.

     NOTICE AND BILL OF PARTICULARS FOR FORFEITURE OF PROPERTY

       The United States of America hereby files the following Notice and Bill of Particulars for

Forfeiture of Property.

       The forfeiture allegation pending in this case seeks forfeiture of property which constitutes

and is derived from the proceeds obtained directly and indirectly from the violations set forth in

Count One of the Second Superseding Indictment, and any property used or intended to be used,

in any manner or part, to commit, or to facilitate the commission of the violations alleged in Count

One pursuant to 21 U.S.C. § 853.

       The United States hereby gives notice that the United States is seeking forfeiture of

approximately $140,000 in United States currency seized on January 18, 2024, from Dontrell




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Anthony Powell, which is property constituting or derived from proceeds directly traceable to

violations alleged in Count One of the Second Superseding Indictment.

                                             Respectfully submitted,

                                             TERESA A. MOORE
                                             United States Attorney

                                     By:     /s/ Jessica R. Eatmon
                                             JESSICA R. EATMON
                                             Assistant United States Attorney
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                                             Springfield, Missouri 65806
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                                CERTIFICATE OF SERVICE

        I hereby certify that on December 2, 2024, the foregoing document was electronically filed
with the Clerk of the Court using the CM/ECF system, for electronic delivery to all counsel of
record.

                                             /s/ Jessica R. Eatmon
                                             JESSICA R. EATMON
                                             Assistant United States Attorney




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